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13    Stonington Strategies LLC and Nicolas D. Muzin
14    [Additional counsel listed on signature page]
15                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16                               WESTERN DIVISION
17
       BROIDY CAPITAL MANAGEMENT LLC                   Case No. 2:18-CV-02421-JFW-E
18     and ELLIOTT BROIDY,
                                                       The Honorable John F. Walter
19
             Plaintiffs,
20                                                     STIPULATION REGARDING
             v.                                        STONINGTON DEFENDANTS’
21
                                                       MOTION TO DISMISS
22      STATE OF QATAR, STONINGTON
        STRATEGIES LLC, NICOLAS D.                     PLAINTIFFS’ AMENDED
23                                                     COMPLAINT
        MUZIN, GLOBAL RISK ADVISORS
24      LLC, KEVIN CHALKER, DAVID
        MARK POWELL, MOHAMMED BIN
25                                                     Complaint Filed: March 26, 2018
        HAMAD BIN KHALIFA AL THANI,
26      AHMED AL-RUMAIHI, and DOES 1-10,               Amended Complaint: May 24, 2018
27
             Defendants.
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1           This stipulation is entered into by and between Plaintiffs Broidy Capital
2     Management LLC and Elliott Broidy (“Plaintiffs”), Defendant State of Qatar (“Qatar”),
3     Defendants Nicolas D. Muzin and Stonington Strategies (“Stonington Defendants”), and
4     Defendants Global Risk Advisors LLC and Kevin Chalker (“GRA Defendants”), by and
5     through their respective counsel, as follows:
6           WHEREAS, Plaintiffs filed the Amended Complaint on May 24, 2018 (Dkt. 47);
7           WHEREAS, on June 20, 2018, Qatar advised Plaintiffs of their intention to move
8     to dismiss the Amended Complaint;
9           WHEREAS, on June 25, 2018, the Stonington Defendants advised Plaintiffs of their
10    intention to move to dismiss the Amended Complaint;
11          WHEREAS, on June 25, 2018, Plaintiffs consented to the Stonington Defendants’
12    request to extend the page limitations for their Memorandum in Support of their Motion to
13    Dismiss the Amended Complaint to thirty-five pages and their Reply to eighteen pages;
14          WHEREAS, on June 25, 2018, the Stonington Defendants consented to Plaintiffs’
15    request to extend the page limitation for their Opposition to the Stonington Defendants’
16    Motion to Dismiss to thirty-five pages;
17          WHEREAS, on June 27, 2018, Qatar filed its Notice of Motion and Motion to
18    Dismiss Pursuant to Rules 12(b)(1) and 12(b)(2) and stated its intent to stipulate to a
19    hearing on that motion for August 6, 2018 (Dkt. 112);
20          WHEREAS, Plaintiffs and the Stonington Defendants have conferred for purposes
21    of developing a schedule for the Stonington Defendants’ forthcoming motion to dismiss
22    briefing;
23          WHEREAS, the Stonington Defendants have represented that they may file the
24    Motion to Dismiss Plaintiffs’ Amended Complaint by July 9, 2018;
25          WHEREAS, if that motion is filed by July 9, 2018, the date agreed upon for the
26    Notice of Hearing for the Stonington Defendants’ Motion to Dismiss Plaintiffs’ Amended
27    Complaint would be before the date on which a hearing may be noticed under this Court’s
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 1    May 7, 2018 Order on Stipulation to Schedule for Filing Amended Complaint and Motion
 2    to Dismiss and Order Staying Discovery (Dkt. 46);
 3          WHEREAS, Central District of California Local Rule 6-1 allows that a notice of
 4    motion may be filed not later than twenty-eight days before the date noticed for the hearing;
 5          WHEREAS, Plaintiffs and Defendants have agreed that it is their preference that
 6    lead counsel not be required to attend multiple subsequent hearings in this matter;
 7          IT IS HEREBY STIPULATED AND AGREED THAT:
 8          1. The Stonington Defendants shall have thirty-five pages for their Memorandum
 9             in Support of their Motion to Dismiss Plaintiffs’ Amended Complaint and
10             eighteen pages for their Reply.
11          2. Plaintiffs shall have thirty-five pages for their Opposition to the Stonington
12             Defendants’ Motion to Dismiss the Amended Complaint.
13          3. If the Stonington Defendants file their motion by July 9, 2018, Plaintiffs shall file
14             any opposition to the Stonington Defendants’ Motion to Dismiss the Amended
15             Complaint by no later than July 23, 2018, or fourteen days before the hearing
16             date, and the Stonington Defendants may file any Reply by July 30, 2018, or
17             seven days before the hearing date.
18          4. If the Stonington Defendants file their motion by July 9, 2018, the hearing date
19             for the Stonington Defendants’ Motion to Dismiss Plaintiffs’ Amended
20             Complaint shall be August 6, 2018 at 1:30 p.m., or as soon thereafter as
21             convenient for the Court
22          5. If the Stonington Defendants do not file their motion by July 9, 2018, the schedule
23             set forth in this Court’s May 7, 2018 Order on Stipulation to Schedule for Filing
24             Amended Complaint and Motion to Dismiss and Order Staying Discovery (Dkt.
25             46) shall continue to apply, with the page limitations set forth herein.
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 1                                           Respectfully submitted,
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 3     Dated: June 28, 2018                  WILEY REIN LLP
 4                                           By: /s/ Stephen J. Obermeier
 5                                           Stephen J. Obermeier
                                             Attorney for Defendants Nicolas D. Muzin and
 6                                           Stonington Strategies LLC
 7
       Dated: June 28, 2018                  BOIES SCHILLER FLEXNER LLP
 8

 9                                           By: /s/ Lee S. Wolosky
                                             Lee S. Wolosky
10
                                             Attorney for Plaintiffs
11
       Dated: June 28, 2018
12                                           COVINGTON & BURLING LLP
13
                                             By: /s/ Mitchell A. Kamin
14                                           Mitchell A. Kamin
                                             Attorney for Defendant State of Qatar
15

16
       Dated: June 28, 2018                  WILMERHALE LLP
17
                                             By: /s/ Rebecca A. Girolamo
18                                           Rebecca A. Girolamo
19                                           Attorney for Defendants Global Risk Advisors
                                             LLC and Kevin Chalker
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